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 5
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 7
 8                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
 9
10     Scott Johnson                             Case No.
11               Plaintiff,
12                                               Complaint For Damages And
         v.                                      Injunctive Relief For Violations
13                                               Of: Americans With Disabilities
       Lark Avenue Car Wash, a                   Act; Unruh Civil Rights Act
14     California Corporation

15               Defendant.

16
17         Plaintiff Scott Johnson complains of Lark Avenue Car Wash, a
18   California Corporation; and alleges as follows:
19
20
       PARTIES:
21
       1. Plaintiff is a California resident with physical disabilities. Plaintiff is a
22
     level C-5 quadriplegic. He cannot walk and also has significant manual
23
     dexterity impairments. He uses a wheelchair for mobility and has a specially
24
     equipped van.
25
       2. Defendant Lark Avenue Car Wash, a California Corporation, owned the
26
     real property located at or about 5005 Almaden Expy, San Jose, California,
27
     between July 2019 and July 2020.
28


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 1     3. Defendant Lark Avenue Car Wash, a California Corporation, owns the
 2   real property located at or about 5005 Almaden Expy, San Jose, California,
 3   currently.
 4     4. Defendant Lark Avenue Car Wash, a California Corporation, owned
 5   Classic Car Wash located at or about 5005 Almaden Expy, San Jose,
 6   California, between July 2019 and July 2020.
 7     5. Defendant Lark Avenue Car Wash, a California Corporation, owns
 8   Classic Car Wash (“Car Wash”) located at or about 5005 Almaden Expy, San
 9   Jose, California, currently.
10     6. Plaintiff does not know the true names of Defendants, their business
11   capacities, their ownership connection to the property and business, or their
12   relative responsibilities in causing the access violations herein complained of,
13   and alleges a joint venture and common enterprise by all such Defendants.
14   Plaintiff is informed and believes that each of the Defendants herein is
15   responsible in some capacity for the events herein alleged, or is a necessary
16   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
17   the true names, capacities, connections, and responsibilities of the Defendants
18   are ascertained.
19
20     JURISDICTION & VENUE:
21     7. The Court has subject matter jurisdiction over the action pursuant to 28
22   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
23   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
24     8. Pursuant to supplemental jurisdiction, an attendant and related cause
25   of action, arising from the same nucleus of operative facts and arising out of
26   the same transactions, is also brought under California’s Unruh Civil Rights
27   Act, which act expressly incorporates the Americans with Disabilities Act.
28     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is


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 1   founded on the fact that the real property which is the subject of this action is
 2   located in this district and that Plaintiff's cause of action arose in this district.
 3
 4
 5     FACTUAL ALLEGATIONS:
 6     10. Plaintiff went to the Car Wash in July 2019, August 2019 and July 2020
 7   with the intention to avail himself of its goods or services motivated in part to
 8   determine if the defendants comply with the disability access laws.
 9     11. The Car Wash is a facility open to the public, a place of public
10   accommodation, and a business establishment.
11     12. Unfortunately, on the dates of the plaintiff’s visits, the defendants failed
12   to provide wheelchair accessible sales counters in conformance with the ADA
13   Standards as it relates to wheelchair users like the plaintiff.
14     13. The Car Wash provides sales counters to its customers but fails to
15   provide wheelchair accessible sales counters.
16     14. A problem that plaintiff encountered was that the sales counters in the
17   gift and coffee shop of the Car Wash were too high and there was no lowered
18   portion of the sales counters suitable for wheelchair users.
19     15. Plaintiff believes that there are other features of the sales counters that
20   likely fail to comply with the ADA Standards and seeks to have fully compliant
21   sales counters available for wheelchair users.
22     16. On information and belief the defendants currently fail to provide
23   wheelchair accessible sales counters.
24     17. Additionally, on the dates of the plaintiff’s visits, the defendants failed
25   to provide wheelchair accessible restrooms in conformance with the ADA
26   Standards as it relates to wheelchair users like the plaintiff.
27     18. The Car Wash provides restrooms to its customers but fails to provide
28   wheelchair accessible restrooms.


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 1     19. A few problems that plaintiff encountered is that there were no grab
 2   bars. Additionally, the restroom mirror and disposable paper towel dispenser
 3   were too high. The restroom sink had a cabinet style sink that did not provide
 4   any knee clearance for wheelchair users.
 5     20. Plaintiff believes that there are other features of the restrooms that
 6   likely fail to comply with the ADA Standards and seeks to have fully compliant
 7   restrooms available for wheelchair users.
 8     21. On information and belief the defendants currently fail to provide
 9   wheelchair accessible restrooms.
10     22. Moreover, on the dates of the plaintiff’s visits, the defendants failed to
11   provide wheelchair accessible paths of travel in conformance with the ADA
12   Standards as it relates to wheelchair users like the plaintiff.
13     23. The Car Wash provides paths of travel to its customers but fails to
14   provide wheelchair accessible paths of travel.
15     24. The problem that plaintiff encountered is that the paths of travel inside
16   the Car Wash store were too narrow.
17     25. Plaintiff believes that there are other features of the paths of travel that
18   likely fail to comply with the ADA Standards and seeks to have fully compliant
19   paths of travel available for wheelchair users.
20     26. On information and belief the defendants currently fail to provide
21   wheelchair accessible paths of travel.
22     27. Finally, on the dates of the plaintiff’s visits, the defendants failed to
23   provide wheelchair accessible dining surfaces in conformance with the ADA
24   Standards as it relates to wheelchair users like the plaintiff.
25     28. The Car Wash provides dining surfaces to its customers but fails to
26   provide wheelchair accessible dining surfaces.
27     29. One problem that plaintiff encountered is the lack of sufficient knee or
28   toe clearance under the dining surfaces for wheelchair users.


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 1     30. Plaintiff believes that there are other features of the dining surfaces that
 2   likely fail to comply with the ADA Standards and seeks to have fully compliant
 3   dining surfaces available for wheelchair users.
 4     31. On information and belief the defendants currently fail to provide
 5   wheelchair accessible dining surfaces.
 6     32. These barriers relate to and impact the plaintiff’s disability. Plaintiff
 7   personally encountered these barriers.
 8     33. As a wheelchair user, the plaintiff benefits from and is entitled to use
 9   wheelchair accessible facilities. By failing to provide accessible facilities, the
10   defendants denied the plaintiff full and equal access.
11     34. The failure to provide accessible facilities created difficulty and
12   discomfort for the Plaintiff.
13     35. The defendants have failed to maintain in working and useable
14   conditions those features required to provide ready access to persons with
15   disabilities.
16     36. The barriers identified above are easily removed without much
17   difficulty or expense. They are the types of barriers identified by the
18   Department of Justice as presumably readily achievable to remove and, in fact,
19   these barriers are readily achievable to remove. Moreover, there are numerous
20   alternative accommodations that could be made to provide a greater level of
21   access if complete removal were not achievable.
22     37. Plaintiff will return to the Car Wash to avail himself of its goods or
23   services and to determine compliance with the disability access laws once it is
24   represented to him that the Car Wash and its facilities are accessible. Plaintiff
25   is currently deterred from doing so because of his knowledge of the existing
26   barriers and his uncertainty about the existence of yet other barriers on the
27   site. If the barriers are not removed, the plaintiff will face unlawful and
28   discriminatory barriers again.


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 1     38. Given the obvious and blatant nature of the barriers and violations
 2   alleged herein, the plaintiff alleges, on information and belief, that there are
 3   other violations and barriers on the site that relate to his disability. Plaintiff will
 4   amend the complaint, to provide proper notice regarding the scope of this
 5   lawsuit, once he conducts a site inspection. However, please be on notice that
 6   the plaintiff seeks to have all barriers related to his disability remedied. See
 7   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
 8   encounters one barrier at a site, he can sue to have all barriers that relate to his
 9   disability removed regardless of whether he personally encountered them).
10
11   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
12   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
13   Defendants.) (42 U.S.C. section 12101, et seq.)
14     39. Plaintiff re-pleads and incorporates by reference, as if fully set forth
15   again herein, the allegations contained in all prior paragraphs of this
16   complaint.
17     40. Under the ADA, it is an act of discrimination to fail to ensure that the
18   privileges, advantages, accommodations, facilities, goods and services of any
19   place of public accommodation is offered on a full and equal basis by anyone
20   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
21   § 12182(a). Discrimination is defined, inter alia, as follows:
22             a. A failure to make reasonable modifications in policies, practices,
23                or procedures, when such modifications are necessary to afford
24                goods,     services,     facilities,   privileges,    advantages,      or
25                accommodations to individuals with disabilities, unless the
26                accommodation would work a fundamental alteration of those
27                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
28             b. A failure to remove architectural barriers where such removal is


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 1                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 2                defined by reference to the ADA Standards.
 3            c. A failure to make alterations in such a manner that, to the
 4                maximum extent feasible, the altered portions of the facility are
 5                readily accessible to and usable by individuals with disabilities,
 6                including individuals who use wheelchairs or to ensure that, to the
 7                maximum extent feasible, the path of travel to the altered area and
 8                the bathrooms, telephones, and drinking fountains serving the
 9                altered area, are readily accessible to and usable by individuals
10                with disabilities. 42 U.S.C. § 12183(a)(2).
11     41. When a business provides facilities such as sales or transaction counters,
12   it must provide accessible sales or transaction counters.
13     42. Here, accessible sales or transaction counters have not been provided in
14   conformance with the ADA Standards.
15     43. When a business provides facilities such as restrooms, it must provide
16   accessible restrooms.
17     44. Here, accessible restrooms have not been provided in conformance with
18   the ADA Standards.
19     45. When a business provides paths of travel, it must provide accessible
20   paths of travel.
21     46. Here, accessible paths of travel have not been provided in conformance
22   with the ADA Standards.
23     47. When a business provides facilities such as dining surfaces, it must
24   provide accessible dining surfaces.
25     48. Here, accessible dining surfaces have not been provided in
26   conformance with the ADA Standards.
27     49. The Safe Harbor provisions of the 2010 Standards are not applicable
28   here because the conditions challenged in this lawsuit do not comply with the


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 1   1991 Standards.
 2      50. A public accommodation must maintain in operable working condition
 3   those features of its facilities and equipment that are required to be readily
 4   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 5      51. Here, the failure to ensure that the accessible facilities were available
 6   and ready to be used by the plaintiff is a violation of the law.
 7
 8   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 9   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
10   Code § 51-53.)
11      52. Plaintiff repleads and incorporates by reference, as if fully set forth
12   again herein, the allegations contained in all prior paragraphs of this
13   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
14   that persons with disabilities are entitled to full and equal accommodations,
15   advantages, facilities, privileges, or services in all business establishment of
16   every kind whatsoever within the jurisdiction of the State of California. Cal.
17   Civ. Code §51(b).
18      53. The Unruh Act provides that a violation of the ADA is a violation of the
19   Unruh Act. Cal. Civ. Code, § 51(f).
20      54. Defendants’ acts and omissions, as herein alleged, have violated the
21   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
22   rights to full and equal use of the accommodations, advantages, facilities,
23   privileges, or services offered.
24      55. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
25   discomfort or embarrassment for the plaintiff, the defendants are also each
26   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
27   (c).)
28      56. Although the plaintiff encountered frustration and difficulty by facing


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 1   discriminatory barriers, even manifesting itself with minor and fleeting
 2   physical symptoms, the plaintiff does not value this very modest physical
 3   personal injury greater than the amount of the statutory damages.
 4
 5          PRAYER:
 6          Wherefore, Plaintiff prays that this Court award damages and provide
 7   relief as follows:
 8       1. For injunctive relief, compelling Defendants to comply with the
 9   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
10   plaintiff is not invoking section 55 of the California Civil Code and is not
11   seeking injunctive relief under the Disabled Persons Act at all.
12       2. Damages under the Unruh Civil Rights Act, which provides for actual
13   damages and a statutory minimum of $4,000 for each offense.
14       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
15   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
16
     Dated: November 9, 2020          CENTER FOR DISABILITY ACCESS
17
18
                                      By:
19
                                      _______________________
20
                                             Amanda Seabock, Esq.
21                                           Attorney for plaintiff

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